         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant, Jeremy David Moore, is a Special Agent with the Federal Bureau of
Investigation. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
              Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       According to records obtained through a search warrant served on Google, a mobile device
associated with kblakelykds@gmail.com (user “Kevin Blakely,” UID: 174441000000, sign-in
phone number ending in -23031) was present at the U.S. Capitol on January 6, 2021. Google
estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the
source(s) of the data. As a result, Google assigns a “maps display radius” for each location and
data point. Thus, where Google estimates that its location data is accurate to within 10 meters,
google assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with kblakelykds@gmail.com was within the U.S. Capitol from approximately 2:45 p.m. to 4:38
p.m. Google records show that of the 36 location data points within the Capitol corresponding to
kblakelykds@gmail.com, the “maps display radius” for this location data was between 100 and
200 feet, which encompasses an area that is mostly within the U.S. Capitol building.

       Law enforcement records show the area code for the phone number ending in -2303 is an
area code servicing the greater Dallas, Texas area.

       Your affiant was able to locate a publicly available Facebook page for BLAKELY. In a
February 2021, Facebook post, BLAKELY appears in a photograph wearing a black sweatshirt
with the letters “FMB” in front of a red brick faced property consistent with his residence in
McKinney, TX.




1
    The records included the full number, but for purposes of this public filing only the last four digits are included.
         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 3 of 8




Photo 1: A public Facebook post to KEVIN BLAKELY’s Facebook account.

       During the course of the investigation, law enforcement recovered video footage from both
outside and within the U.S. Capitol Building on January 6, 2021. In this footage, law enforcement
has located images of an individual who appears fully consistent with BLAKELY’s appearance
(based on a review of publicly available images of BLAKELY).

        Specifically, in the footage at the U.S. Capitol, BLAKELY is wearing what appears to be
the same black “Figueroa Mountain Brewery” (“FMB”) sweatshirt, as well as, black pants and
black, white and red sneakers. BLAKELY’s face is not obscured by a mask or any other covering.
Additionally, the video footage shows BLAKELY with a phone in his hand, consistent with the
location data described above (placing BLAKELY in the area of the Capitol between 2:45 p.m.
and 4:38 p.m.).
        Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 4 of 8




Photo 2: Open source video capture depicting BLAKELY outside the Capitol Building with
phone in his hand.
         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 5 of 8




/
Photo 3: Zoomed in image of Blakely standing in front of the U.S. Capitol wearing a black
sweatshirt with a white “FMB” logo.




Photo 4: Open source video depicting BLAKELY inside the Capitol Building.
         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 6 of 8




Photo 5: BLAKELY inside the Capitol building, wearing a black “Figueroa Mountain Brewery”
(FMB) sweatshirt.

        Based on a review of additional publicly available websites, your affiant has located an
Instagram post that captures BLAKELY in front of the Capitol building.
         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 7 of 8




Photo 6: BLAKELY outside the Capitol building, wearing a black FMB sweatshirt.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KEVIN SAM BLAKELY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
         Case 1:21-cr-00356-EGS Document 1-1 Filed 03/18/21 Page 8 of 8




         Your affiant submits there is also probable cause to believe that KEVIN SAM BLAKELY
violated 40 U.S.C. § 5104(e)(2)(D), (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and, (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Jeremy David Moore
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of March 2021.

                                                                    2021.03.18
                                                                    19:22:27 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
